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                          MINUTE ENTRY FOR SETTLEMENT


  TO:         Docketing

  FROM:       Magistrate Judge Michael E. Hegarty

  DATE:       January 22, 2010

  RE:        Estate of Anthony L. Sims v. Ted Mink et al., 09-cv-01796-REB-MEH

                           A settlement conference was held on this date, and no settlement
                           has been reached as to any claims in this action.

               X           A settlement conference was held on this date, and a settlement
                           was reached as to

                             X     All claims in this action. The parties shall file a stipulated
                                   motion to dismiss on or before February 15, 2010.

                                   Claims between _____________ and ________________.
                                   These parties shall file a stipulated motion to dismiss on or
                                   before __________________.

             Settlement conference and pre-conference preparation time involved: 6 hours 00
             minutes.

               X    A record was made                             No record was made




                                 *****************

                           Supplemental settlement negotiations were held in the above-
                           captioned case, including telephone and e-mail discussions and an
                           in-person conference, since the prior conference.

             Negotiation time involved:     hours     minutes.
